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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    ROCHELLE NISHIMOTO,                                Case No.: 16-cv-1974-BEN-LL
      individually and as Successor in Interest
12
      to JASON NISHIMOTO,                                SCHEDULING ORDER
13                                      Plaintiff,       REGULATING PRE-TRIAL
                                                         PROCEEDINGS
14    v.
15
      ANNE BRANTMAN and
16    CORRECTIONAL PHYSICIANS
      MEDICAL GROUP, INC.,
17
                                    Defendants.
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20         On April 9, 2021, the United States Court of Appeals for the Ninth Circuit reversed
21   and remanded the district court’s grant of summary judgment as to the remaining
22   Defendants Correctional Physicians Medical Group and Nurse Practitioner Anne
23   Brantman. See Nishimoto v. County of San Diego, 850 F. App’x 493, 495 (9th Cir. 2021).
24   On June 30, 2021, the district judge, the Honorable Roger T. Benitez, held an Appeal
25   Mandate Hearing and ordered the parties to submit a modified proposed scheduling order
26   within fourteen (14) days. ECF No. 192. On June 14, 2021, the parties filed a Joint
27   Proposed Scheduling Order. ECF No. 194. Accordingly, IT IS HEREBY ORDERED:
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 1         1.     In jury trial cases before the Judge Benitez, neither party, unless otherwise
 2   ordered by the Court, is required to file Memoranda of Contentions of Fact and Law
 3   pursuant to Civil Local Rule 16.1(f)(2).
 4         2.     On or before September 13, 2022 the parties shall submit directly to
 5   Magistrate Judge Lopez’s chambers via email a joint statement regarding their willingness
 6   to participate in another settlement conference prior to trial. If applicable, the parties shall
 7   propose three mutually available dates. The statement shall not exceed more than one page
 8   in length.
 9         3.     Counsel shall comply with the pre-trial disclosure requirements of Federal
10   Rule of Civil Procedure 26(a)(3) by February 7, 2022. Failure to comply with these
11   disclosure requirements could result in evidence preclusion or other sanctions under
12   Federal Rule of Civil Procedure 37.
13         4.     Counsel shall meet and take the action required by Civil Local Rule 16.1(f)(4)
14   by February 23, 2022. At this meeting, counsel shall discuss and attempt to enter into
15   stipulations and agreements resulting in simplification of the triable issues. Counsel shall
16   exchange copies and/or display all exhibits other than those to be used for impeachment.
17   The exhibits shall be prepared in accordance with Civil Local Rule 16.1(f)(4)(c). Counsel
18   shall note any objections they have to any other parties’ Pretrial Disclosures under Federal
19   Rule of Civil Procedure 26(a)(3). Counsel shall cooperate in the preparation of the
20   proposed pretrial conference order.
21         5.     Counsel for Plaintiff will be responsible for preparing the pretrial order and
22   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). By March 7, 2022,
23   Plaintiff’s counsel must provide opposing counsel with the proposed pretrial order for
24   review and approval. Opposing counsel must communicate promptly with Plaintiff’s
25   attorney concerning any objections to form or content of the pretrial order, and both parties
26   shall attempt promptly to resolve their differences, if any, concerning the order.
27         6.     The Proposed Final Pretrial Conference Order, including objections to any
28   other parties’ Federal Rule of Civil Procedure 26(a)(3) Pretrial Disclosures shall be

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 1   prepared, served and lodged with the assigned district judge by March 21, 2022, and shall
 2   be in the form prescribed in and comply with Civil Local Rule 16.1(f)(6).
 3         7.     The final Pretrial Conference is scheduled on the calendar of the Honorable
 4   Roger T. Benitez on March 28, 2022 at 10:30 a.m.
 5         8.     The parties must review the chambers’ rules for the assigned district judge
 6   and magistrate judge.
 7         9.     A post trial settlement conference before a magistrate judge may be held
 8   within 30 days of verdict in the case.
 9         10.    The dates and times set forth herein will not be modified except for good cause
10   shown.
11         11.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter this
12   case hereafter.
13         IT IS SO ORDERED.
14   Dated: July 16, 2021
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